


  PER CURIAM.
 

  Antraveius T. Baker challenges his judgment of conviction and sentence for trafficking in more than 200 grams but less than 400 grams of cocaine. We affirm the conviction without comment, but we reverse certain costs imposed by the trial court and remand for a corrected sentencing order.
 

  When the trial court orally announced sentence, it did not impose an assessment for (i) the sheriffs office investigation costs, (ii) the prosecution investigative cost, and (iii) the FDLE operation trust fund. These costs, which were assessed against appellant in the written order of sentence, are therefore improper.
  
   See Pullam v. State,
  
  55 So.3d 674 (Fla. 1st DCA 2011). Further, because appellant was not given the opportunity to contest the public defender fee, it too was erroneously assessed.
  
   See
  
  § 938.29(5), Fla. Stat. (2010). On remand, these costs are to be struck.
 

  AFFIRMED in part, REVERSED in part and REMANDED.
 

  VAN NORTWICK, THOMAS, and ROWE, JJ., concur.
 
